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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:03CR290
                              )
          v.                  )
                              )
STERLING McKOY,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

to amend pro se 2255 petition pursuant to Rule 15(c) (Filing No.

374).   This matter is on appeal and this Court no longer has

jurisdiction.    Therefore, this motion will be denied without

prejudice.   Accordingly,

           IT IS ORDERED defendant’s motion to amend pro se 2255

petition pursuant to Rule 15(c) is denied without prejudice.

           DATED this 6th day of February, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
